                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE




UNITED STATES OF AMERICA                     )
                                             )
V.                                           )              No. 2:08-CR-58
                                             )
SHAWN ANDERSON HILL                          )



                        REPORT AND RECOMMENDATION


      The defendant has filed a motion to dismiss Counts One and Two for duplicity. (Doc.

200). This motion has been referred to the magistrate judge pursuant to the standing order

of this Court and 28 U.S.C. § 636. An evidentiary hearing was held on March 26, 2009.

      An indictment is “duplicitous” when it joins in a single count two or more distinct and

separate offenses. United States v. Robinson, 651 F.2d 1188, 1194 (6th Cir. 1981), cert.

denied, 454 U.S. 875 (1981).

      Count One of the Superseding Indictment charges this defendant with a conspiracy

to distribute and to possess with the intent to distribute 50 grams or more of

methamphetamine, and with the distribution and possession with the intent to distribute 500

grams or more of a mixture containing some amount of methamphetamine.

      Count Two charges the defendant with a conspiracy to manufacture 50 grams or more

of methamphetamine and with manufacturing 500 grams or more of a mixture containing




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some amount of methamphetamine.

       Defendant argues, not without some logic, that each count contains two distinct,

separate offenses, and are therefore duplicitous.

       This issue has more to do with sentencing than it does with substantive guilt. 21

U.S.C. § 841(a)(1) makes it illegal to manufacture, distribute, or possess with the intent to

distribute any controlled substance. Subsection (b) of that statute provides the penalties for

any violation of subsection (a). Subsection (b)(1)(viii) addresses methamphetamine; if the

violation of subsection (a) involved 50 grams or more of essentially pure methamphetamine,

or if it involved 500 grams or more of some mixture that contains methamphetamine (i.e.,

diluted methamphetamine), then in either event the punishment is a minimum and mandatory

ten years up to a possible maximum of life imprisonment. Thus, if the jury should find the

defendant conspired to distribute or manufacture 50 grams or more of pure

methamphetamine, the punishment will be no greater nor no less than if the jury should find

that he conspired to distribute or manufacture 500 grams or more of diluted

methamphetamine. The reverse would be the same, of course. As far as the United States’

proof is concerned, evidentiary rulings would not be different with respect to evidence of

50 grams of pure methamphetamine versus 500 grams of diluted methamphetamine.

Whether the defendant is found guilty with respect to 50 grams of pure methamphetamine

or 500 grams of diluted methamphetamine will make no difference to his ultimate sentence.

Thus, all the concerns listed in United States v. Starks, 515 F.2d 112 (3rd Cir. 1975) could


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not arise under the circumstances of this case. Moreover, the Sixth Circuit has held that a

single count that charges a conspiracy to distribute multiple controlled substances does not

constitute a duplicitous indictment, since it is the conspiracy that is the crime. United States

v. Dale, 178 F.2d 429 (6th Cir. 1999).

       It is respectfully recommend that defendant’s motion to dismiss Counts One and Two

be denied.1



                                                            s/ Dennis H. Inman
                                                        United States Magistrate Judge




       1
         Any objections to this report and recommendation must be filed within ten (10) days of
its service or further appeal will be waived. 28 U.S.C. § 636(b)(1)(B) and (C). United States v.
Walters, 638 F.2d 947-950 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).


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